529 F. 2d 1353
    UNITED STATES of America, Appellee,v.Winfred Wade PAYNE, Appellant.UNITED STATES of America, Appellee,v.Eddie Charles DOUGLAS, Appellant.
    Nos. 75--1716, 75--1772.
    United States Court of Appeals,Eighth Circuit.
    Submitted Jan. 16, 1976.Decided Jan. 20, 1976.Certiorari Denied May 19, 1976.See 96 S.Ct. 2180.
    
      Eugene J. Mazzanti, Little Rock, Ark., for Payne.
      James A. Neal, Little Rock, Ark., for Douglas.
      W. H. Dillahunty, U.S. Atty., and Ken Stolle, Asst. U.S. Atty., Little Rock, Ark., for appellee.
      Before HEANEY, ROSS and WEBSTER, Circuit Judges.
      PER CURIAM.
    
    
      1
      Winfred Wade Payne and Eddie Charles Douglas appeal from their conviction by a jury of armed bank robbery in violation of 18 U.S.C. § 2113(d), and their subsequent sentences of nineteen years.  They both contend on appeal error: (1) in the denial of motions to sever their joint trial, and (2) the difference in sentences received by them and a third codefendant who pled guilty and testified against them.
    
    
      2
      Appellant Payne also asserts error in the denial of his motion for continuance made on the day of trial.  Appellant Douglas also asserts error in the in-court identification of him by one of several eyewitnesses.
    
    
      3
      We have carefully reviewed the record and briefs, and following arguments, find no merit to these contentions.  We affirm the judgment of conviction.
    
    